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                                  7 Attorneys for Ole Koch Hansen (named
                                    as Ole Koch)
                                  8

                                  9                          UNITED STATES DISTRICT COURT
                                 10                                  DISTRICT OF NEVADA
                                 11 LINDBERGH AND SHINE LLC, a Delaware                   Case No.: 2:17-cv-3082-APG-PAL
                                    limited liability company,
                                 12
                                                           Plaintiff,                     STIPULATION AND ORDER
9555 Hillwood Drive, 2nd Floor




                                 13 v.                                                    EXTENDING DEADLINE FOR
   HOLLAND & HART LLP

    Las Vegas, NV 89134




                                                                                          DEFENDANT OLE KOCH TO
                                 14 PWT GROUP A/S, a Denmark entity; OLE                  RESPOND TO COMPLAINT
                                    KOCH, an individual; and ASOS.COM
                                 15 LIMITED, a United Kingdom entity,                     (FIRST REQUEST)
                                 16                        Defendants.
                                 17

                                 18                                        STIPULATION

                                 19           Defendant Ole Koch Hansen, named as Ole Koch (“Defendant” or “Koch”) and

                                 20 Plaintiff Lindbergh and Shine LLC (“Plaintiff”), by and through their respective counsel of

                                 21 record, stipulate and agree to extend the deadline to June 15, 2018 for Defendant to answer or

                                 22 otherwise respond to Plaintiff’s Complaint.

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                                      Case 2:17-cv-03082-APG-PAL Document 10 Filed 05/30/18 Page 2 of 2



                                  1           This stipulation is submitted in good faith and is not for the purpose of delay.
                                  2   DATED this 30th day of May, 2018.                   DATED this 30th day of May, 2018.
                                  3

                                  4   By:      /s/ J.D. Lowry                              By:    /s/ Susan M. Schwartz
                                            Steven A. Gibson, Esq.                               Constance L. Akridge, Esq.
                                  5         Jodi Donetta Lowry, Esq.                             Susan M. Schwartz, Esq.
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                                            Las Vegas, Nevada 89130                              Las Vegas, NV 89134
                                  7
                                            Attorneys for Lindbergh and                          Attorneys for Ole Koch Hansen
                                  8         Shine LLC                                            (incorrectly named as Ole Koch)
                                  9

                                 10                                                ORDER
                                 11                                                 IT IS SO ORDERED.
                                 12
9555 Hillwood Drive, 2nd Floor




                                 13                                                 UNITED STATES DISTRICT or MAGISTRATE
   HOLLAND & HART LLP

    Las Vegas, NV 89134




                                                                                    JUDGE
                                 14

                                 15                                                 Dated: ___________________________

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